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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

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Freedom from Religion Foundation, Inc. Steve
Kristoff, and Renana Gross,

Plaintiffs, Case No. 1:14-cv-02047-TWP-DML

District Judge Tanya Walton Pratt

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)
)
v. )
) Magistrate Judge Debra McVicker Lynch
)
)
)
)
)

Franklin County, Indiana,

Defendant,

MOTION OF JOCELYN FLOYD TO APPEAR PRO HAC VICE

Pursuant to §.D. Ind. Local Rule 83-6(a), the undersigned counsel respectfully requests
entry of an Order granting leave to appear pro hac vice for the purpose of appearing as counsel
on behalf of Franklin County, Indiana, in the above-styled cause only. In support of this motion,
the undersigned states:

1. Iam admitted to practice and am in good standing (i.c., currently authorized to
practice as an attorney) in the following United States court(s) and/or state’s highest court(s):

Supreme Court of Illinois: 2010

Northern District of [linois: 2014

2. { have never been disbatred or suspended from practice before any court,
department, bureau or commission of any state or the United States. I have never received a
reprimand or been subject to other disciplinary action from any such court, department, bureau,

or commission pertaining to conduct or fitness as a member of the bar.
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3. 1 certify that I have reviewed the Seventh Circuit Standards of Professional
Conduct and the Local Rules of the court, including the Rules of Disciplinary Enforcement, and
that I will abide by those rules and standards.

4. A check in the amount of Thirty Dollars ($30.00) (or a credit card payment, ifthe
Clerk accepts such payments) in payment of the administrative fees required to process this
motion for admission pro hac vice has been submitted to the Clerk of this Court.

WHEREFORE, the undersigned counsel respectfully requests that this Court enter and
Order granting leave to appear pro hac vice for the purposes of this cause only.

Dated: December 19, 2014
Respectfully submitted,

/s/ Jocelyn Floyd

Jocelyn Floyd

Thomas More Society

19 8. LaSalle St., Ste. 603
Chicago, IL 60603

Tel: 312-782-1680

Fax: 312-782-1887

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CERTIFICATE OF SERVICE

I certify that on December 19, 2014, a copy of the foregoing Motion to Appear Pro Hac Vice
was hand-delivered to the following:

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Vv.
Franklin County, Indiana,

Defendant.

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ORDER GRANTING MOTION TO APPEAR PRO HAC VICE
This cause has come before the Court upon the motion of Jocelyn Floyd, counsel for
Franklin County, Indiana, for leave to appear and participate pro hac vice in the above-captioned
cause only. Being fully advised, it is now

ORDERED that the motion be, and hereby is, GRANTED.

Dated:
Hon,
United States District Court
Southern District of Indiana
Coptes to:

Distribution to all registered counsel by CM/ECF.
